                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *

        v.                                          *   Criminal No.: 1:19-CR-00438-RDB-1

JAMIE CLEMONS                                       *

*       *        *        *       *        *        *        *       *        *        *        *       *

                         EMERGENCY APPEAL OF DETENTION ORDER
                             PURSUANT TO 18 U.S.C. § 3145(b)

        Now comes Jamie Clemons, Defendant, by his attorneys, Howard L. Cardin and Cardin &

Gitomer, P.A. and David N. Mabrey, and appeals the Order of detention dated April 6, 2020, by

Magistrate Judge Beth P. Gesner and requests that this Honorable Court schedule a hearing and

revoke the order of detention, pursuant to 18 U.S.C. § 3145(b). Reasonable conditions of release

should be set according to the factors of 18 U.S.C. § 3145(c), and pursuant to the recent directive

of Attorney General Barr to reduce inmate populations at high infected facilities. The Correctional

Treatment Facility in Washington, D.C. (CTF) has become an incubator for the novel COVID-19

pandemic. 1 As of April 2, 2020, there are at least seven positive cases of COVID-19 in Mr.

Clemons’ tier (C4C).          These numbers increase every day.             Counsel is seeking additional

information and will update the Court as more information becomes available. Mr. Clemons is 36

years old and is accused of Arson related offenses. Upon release on electronic monitoring, he

would reside with his brother and sister-in-law, James & Jessica Clemons, 2006 Mc Kinnon Lane,

Pasadena, MD 21122. James and Jessica Clemons have agreed to be 3rd party custodians. Pretrial




1
 See Khalida Volou, ‘We are afraid’ Inmates, officers not protected against COVID-19 at DC jail, DC correctional
officials allege, WUSA9(April 1, 2020), http://www.wusa9.com/article/news/health/coronavirus/dc-department-of-
corrections-announces-lawsuit-filed-against-jail/65-300b86ac-590e-4b35-93f0-713cldf5a7a3 (citing the increasing
number of positive COVID-19 cases reported in D.C. correctional facilities).
Services (Danielle Sanger) has found the Clemons’ as well as the address to be suitable, but

continue to recommend detention.

       In support of this appeal, Counsel submits media articles which have been supplied to

them. (See attached)



                                                                 /S/
                                                      ___________________________
                                                      HOWARD L. CARDIN
                                                      Federal Bar No. 00459
                                                      309 Allegheny Avenue
                                                      Towson, MD 21204
                                                      410-727-3868
                                                      HLCardin@aol.com


                                                                 /S/
                                                      ____________________________
                                                      DAVID N. MABREY
                                                      8611 Fort Smallwood Road
                                                      Pasadena, MD 21122
                                                      443-848-2878
                                                      davidnmabreylaw@gmail.com

                                                      Attorneys for Defendant



                                  CERTIFICATE OF MAILING

       I hereby certify that on this 8th day of April, 2020, I filed the above electronically with the

Clerk of the United States District Court using CM/ECF with copies to all counsel of record.



                                                               /S/
                                                      _________________________
                                                      HOWARD L. CARDIN
